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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 CENTER FOR BIOLOGICAL DIVERSITY, et
 al.

                        Plaintiffs,
                                                      Case No. 1:21-cv-0119 (RDM)
             v.
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, et al.

                        Defendants.


                        NOTICE OF FILING CERTIFIED INDEX
              TO THE SECOND AMENDED ADMINISTRATIVE RECORD

        Pursuant to Local Civil Rule 7(n)(1) and the Court’s scheduling order of April 19, 2022,

Defendant U.S. Environmental Protection Agency (“EPA”) hereby files the attached certified

index to the second amended administrative record for the EPA action that is being challenged in

this case.

Dated: July 18, 2022                                Respectfully submitted,

                                                    /s/ Alison C. Finnegan
                                                    ALISON C. FINNEGAN (PA Bar 88519)
                                                    Wildlife & Marine Resources Section
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                                                    Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 18, 2022, a true and correct copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system, which will send notification of

this filing to the attorneys of record.

                                                      /s/ Alison C. Finnegan




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